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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

      v.                                   Criminal No.: 16-CR-10343-ADB

MICHAEL J. GURRY, et al.,                  ORAL ARGUMENT REQUESTED

      Defendants.




          DEFENDANT JOHN KAPOOR’S MOTION FOR A NEW TRIAL
        BASED ON WEIGHT OF THE EVIDENCE PURSUANT TO RULE 33
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                                        INTRODUCTION

       Dr. John Kapoor joins in full defendants’ renewed joint motion for judgment of acquittal

and joint motion for a new trial. See Dkt No. 860. For all the reasons set forth in the joint filing,

this Court should enter a judgment of acquittal on the jury’s verdict as to the Controlled Substances

Act (“CSA”) predicate, and, at a minimum, order new trial on the remaining allegations. Such

relief would render this separate motion, which pertains solely to Dr. Kapoor, moot.

       In the event, however, that the Court leaves any part of the jury’s verdict in place despite

the arguments raised in the joint post-trial motion, it should grant this free-standing motion for a

new trial as to Dr. Kapoor. It should do so because, under the applicable standards of Federal Rule

of Criminal Procedure 33, the jury’s verdict against Dr. Kapoor is against the weight of the

evidence admitted at trial. First, the government’s case against Dr. Kapoor rests almost entirely

on the testimony of three flawed and interested witnesses—Alec Burlakoff, Michael Babich, and

Matt Napoletano—who contradicted each other on virtually every aspect of Dr. Kapoor’s supposed

involvement in the alleged RICO conspiracy. Second, the remainder of the government’s evidence

sheds little light on Dr. Kapoor’s alleged involvement in that conspiracy, and what light it sheds

was more exculpatory than inculpatory. Third, in lieu of clear evidence of guilt, the government’s

case against Dr. Kapoor featured evidence of, at best, marginal relevance—including a parody rap

video, Dr. Kapoor’s relationship with a sales representative, and preposterous accusations by Mr.

Burlakoff—that appealed to the jury’s emotions but provide no meaningful support for its verdict.

                                      LEGAL STANDARD

       Under Rule 33, “a district court has greater latitude in considering a motion for a new trial

than it does in considering a motion for acquittal.” United States v. Merlino, 592 F.3d 22, 33 (1st

Cir. 2010) (citing United States v. Ruiz, 105 F.3d 1492, 1501 (1st Cir. 1997)). A trial court’s

discretion to grant a new trial “is so broad in that it may weigh the evidence, disbelieve witnesses,

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and grant a new trial even where there is substantial evidence to sustain the verdict.” United States

v. Devries, 630 F.3d 1130, 1133 (8th Cir. 2011) (internal quotation marks omitted). “The district

court need not view the evidence in the light most favorable to the verdict,” Tibbs v. Florida, 457

U.S. 31, 38 n.11 (internal quotation marks omitted), as it must under Rule 29. See United States

v. Mallory, 902 F.3d 584, 596 (6th Cir. 2018). “If the court concludes that, despite the abstract

sufficiency of the evidence to sustain the verdict, the evidence preponderates sufficiently heavily

against the verdict that a serious miscarriage of justice may have occurred, it may set aside the

verdict, grant a new trial, and submit the issues for determination by another jury.” Tibbs, 457

U.S. at 38 n.11 (internal quotation marks omitted).

        There is “no incongruity or inconsistency” in a district court determining that there is

evidence sufficient to put the case to a jury and later setting a verdict aside as contrary to the weight

of the evidence. See United States v. Robinson, 71 F. Supp. 9, 11 (D.D.C 1947). “In directing a

judgment of acquittal, the Court makes a final disposition of the case. On the other hand, in setting

the verdict aside the Court merely grants a new trial and submits the issues for determination by

another jury. It is appropriate that in the latter instance, the Court should have wide discretion in

the interest of justice.” Id.; see, e.g., United States v. Hayden, 925 F.2d 1471 (9th Cir. 1991)

(affirming district court order denying Rule 29 motion but ordering new trial “predicated in

significant part on an evaluation of the credibility of witnesses and on an assessment of the weight

of particular evidence”); United States v. Ferguson, 49 F. Supp. 2d 321, 323 (S.D.N.Y. 1999)

(denying Rule 29 motion but granting Rule 33 motion in RICO case because “the evidence [was]

too slender a reed to support a guilty verdict”), aff’d, 246 F.3d 129 (2d Cir. 2001).

        In order to convict a defendant of racketeering conspiracy, the government must prove that

the defendant knowingly agreed and specifically intended that one or more conspirators would



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commit a violation of 18 U.S.C. § 1962(c). See United States v. Ramirez-Rivera, 800 F.3d 1, 18

(1st Cir. 2015). As the Court instructed the jury, a finding of guilt requires proof beyond on a

reasonable doubt on six different elements. See 4/4 Trial Tr. 32:10-33:9. For purposes of this

motion, Dr. Kapoor’s challenge to the weight of the evidence is focused on the fifth and sixth

elements. The fifth element requires proof that, among other things, the defendant “knowingly and

willfully agreed to be a member of the criminal conspiracy alleged in the indictment ….” Id. at

32:24-33:1. If membership in the conspiracy is established, the sixth element further requires

proof that the defendant “agreed and specifically intended that he, she or other members of the

conspiracy would commit conduct that constitutes at least two racketeering acts of the type or

types alleged in the indictment.” Id. at 33:6-9. To determine whether the government has met its

burden on the sixth element, the trier of fact must look to the elements underlying each of the

alleged predicate racketeering acts. See id. at 42:10-16.1

                                          ARGUMENT

I.     A NEW TRIAL IS WARRANTED BECAUSE THE MAIN WITNESSES AGAINST
       DR. KAPOOR WERE INCREDIBLE AND INCONSISTENT.

       A.      The Government Relied on Alec Burlakoff’s Uncorroborated Testimony Even
               Though He Was An Unreliable Witness Who Strayed Well Beyond The Truth.

       The government’s lead witness against Dr. Kapoor was Insys’s former VP of Sales, Alec

Burlakoff, who pled guilty to the alleged conspiracy after agreeing to testify at trial as a

cooperating witness. The government told the jury in its closing argument that the “agreement to

bribe people began when Alec Burlakoff was promoted to VP of sales,” 4/4 Trial Tr. 78:10-11,




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  The government’s failure to satisfy the fifth and sixth elements is also briefed in defendants’
renewed joint motion for judgment of acquittal and joint motion for a new trial, which Dr. Kapoor
joins in full. See Dkt. No. 860. This motion will not repeat those arguments but focuses on
additional arguments specific to Dr. Kapoor.

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that Mr. Burlakoff was put “in charge of the whole company” following his promotion, id. at

113:6-9, and that an August 2012 business plan authored by Mr. Burlakoff was the “plan of attack”

for the alleged RICO scheme, id. at 76:11-17. Mr. Burlakoff’s testimony was also repeatedly cited

in the government’s closing as supplying the necessary proof on key elements of the CSA, honest

services fraud, and traditional mail fraud predicates. See id. at 108:5-11 (citing his testimony as

proof that Insys used its speaker programs to bribe co-conspirator practitioners); id. at 100:3-7; 4/5

Trial Tr. 178:12-23 (citing his testimony as proof that defendants knew about bribes); id. at 170:19-

24 (citing his testimony as proof that it was foreseeable to defendants that bribes would lead co-

conspirator practitioners to overprescribe Subsys). So crucial was Mr. Burlakoff’s testimony to

the government’s case that AUSA K. Nathaniel Yeager told the jury during the government’s

closing, “If I could take exhibit stickers and put them on people, I would stick one right on Alec

Burlakoff, and I would say he’s Exhibit No. 1.” 4/4 Trial Tr. 77:9-11.

       Yet even the government concedes that significant issues existed with respect to Mr.

Burlakoff’s credibility well before he ever took the witness stand.             As the government

acknowledged in closing, not only was Mr. Burlakoff a cooperating witness motivated by a desire

reduce his own sentence, but he had already amply demonstrated a willingness to lie when it served

his interests. See 4/4 Trial Tr. 83:21-84:13. When he was first interviewed by government in May

2016, Mr. Burlakoff lied repeatedly about whether he engaged in misconduct at Insys, to the point

that Mr. Yeager told Mr. Burlakoff in the interview that he did not believe anything Mr. Burlakoff

was telling him. See, e.g., 3/6 Trial Tr. 177:24-179:17. Special Agent Paul Baumrind, a seasoned

veteran of the FBI, testified that he had never in his career worked with a potential witness who

was caught lying on tape to the government and then become a testifying witness for the

government at trial. 4/3 Trial Tr. 66:11-19.



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       In addition to the lies he told the government, Mr. Burlakoff undermined his credibility

during the May 2016 interview in other ways. For one thing, Mr. Burlakoff admitted in the

interview that he harbored an extreme hatred towards Dr. Kapoor, infecting his testimony against

Dr. Kapoor at trial with a clear risk of potential bias. See 3/6 Trial Tr. 186:13-16 (“MS.

WILKINSON: Does that refresh your recollection that you did say on a scale of 1 to 10 your

hatred for John Kapoor and [Insys general counsel] Franc Del Fosse was a 10?                 MR.

BURLAKOFF: Yes.”). Additionally, Mr. Burlakoff made clear in the interview that he was

willing to “do whatever the Government wanted [him] to do” to lessen his own punishment. 3/7

Trial Tr. 36:24-37:3.

       Mr. Burlakoff’s trial testimony validated the credibility concerns raised by his May 2016

interview with the government. Most notably, his testimony was repeatedly contradicted by other

witnesses, including SA Baumrind, who contradicted Mr. Burlakoff’s claim that he had previously

told the government that he discussed bribing doctors during his initial employment interview with

Michael Babich and Dr. Kapoor. Compare 3/7 Trial Tr. 53:23-54:3 (“MS. WILKINSON: And

you discussed with [the agents] what happened at that interview, right? MR. BURLAKOFF: I

believe so. MS. WILKINSON: And you told them everything that happened at that meeting, or

at least the main points you’ve told us, right? MR. BURLAKOFF: I tried.”) with 4/2 Trial Tr.

247:2-6 (“MS. WILKINSON: Mr. Burlakoff did not tell you that during his initial meeting with

Dr. Kapoor and Mr. Babich when he interviewed that he agreed to pay doctors in exchange for

prescriptions, did he? SA BAUMRIND: I have no recollection of that.”). Likewise, SA Baumrind

debunked Mr. Burlakoff’s claim that he had previously shared with the government a story that

Dr. Kapoor told him that his favorite interview question was Mr. Burlakoff’s question about how

employees valued loyalty versus integrity. Compare 3/7 Trial Tr. 286:5-8 (“MS. WILKINSON:



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Did you or did you not ever tell the agents starting in August of last summer, 2018, that John

Kapoor told you that your loyalty/integrity question was his favorite question? MR.

BURLAKOFF: Yes, I did tell the agents that.”) with 4/2 Trial Tr. 249:3-8 (“MS. WILKINSON:

And neither your notes nor your report from August 3 when you were documenting your interview

with Mr. Burlakoff, they do not contain any mention of Mr. Burlakoff telling you that he discussed

with Dr. Kapoor or Mr. Babich the interview question of integrity versus loyalty, right? SA

BAUMRIND: That is correct.”).

       Mr. Burlakoff’s testimony also conflicted in significant ways with the testimony of the

government’s other major cooperator in the case, Insys’s former CEO Michael Babich. For

instance, contrary to Mr. Burlakoff’s claims, Mr. Babich testified that using the speaker program

to pay doctors to prescribe was not discussed by the two of them and Dr. Kapoor during Mr.

Burlakoff’s initial employment interview. See 2/14 Trial Tr. 189:10-12 (“MS. WILKINSON:

[Mr. Burlakoff] didn’t tell you that was his plan before that, right? MR BABICH: He did not tell

us that was the plan in the interview.” (emphasis added)). In fact, Mr. Babich testified that as late

as September 2013, more than a year after the employment interview, he still did not know for

sure that Mr. Burlakoff was using the speaker program to bribe doctors. See 2/14 Trial Tr. 228:24-

229:3 (“MS. WILKINSON: So [in September 2013] you said you were becoming aware of what

Mr. Burlakoff was actually doing? MR. BABICH: Yes. MS. WILKINSON: But you didn’t

know the full extent of what he was doing? MR. BABICH: At the time, no.” (emphasis added)).

       In addition to what transpired in the employment interview, Mr. Burlakoff and Mr. Babich

also disagreed about:

   •   what was discussed during an October 2012 meeting with Dr. Kapoor and Matt Napoletano
       about the speaker program, as well as the significance of that meeting, compare 2/13 Trial
       Tr. 29:21-30:24, 111:13-23 and 2/15 Trial Tr. 108:14-22 with 3/7 Trial Tr. 95:1-6;



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   •   the details of a meeting discussing the “ROI analysis” of practitioners serving on Insys’s
       speaker program—which the government later described in its closing as the “smoking gun
       in the case,” 4/5 Trial Tr. 177:9-10—including who distributed the analysis and when the
       meeting occurred, compare 2/15 Trial Tr. 129:19-130:1 with 3/7 Trial Tr. 118:10-12; and

   •   whether the ROI analysis described above continued to be performed after 2012, compare
       2/15 Trial Tr. 131:20-132:16 with 3/12 Trial Tr. 165:9-168:5.

       That the government continued to rely on Mr. Burlakoff’s testimony, despite knowing of

his character for untruthfulness and material inconsistencies between his trial testimony his prior

statements to the FBI, not only undermines the jury’s verdict against Dr. Kapoor, but constitutes a

violation of Dr. Kapoor’s due process rights under Napue v. Illinois, 360 U.S. 264, 269 (1959).

Napue held that the government “may not knowingly use false evidence, including false testimony,

to obtain a tainted conviction regardless of whether the prosecutor solicits false evidence or ...

allows false evidence to go uncorrected when it appears.” United States v. Mangual–Garcia, 505

F.3d 1, 10 (1st Cir. 2007) (quoting Napue, 360 U.S. at 269) (emphasis added) (internal quotation

marks and brackets omitted). Here, the government may not have intentionally solicited false

testimony from Mr. Burlakoff, but it repeatedly allowed his false statements to go uncorrected.

The Court should order a new trial on this basis alone because Mr. Burlakoff’s testimony, despite

the defense’s attempts to impeach him, “could in any reasonable likelihood have affected the

judgment of the jury.” Mangual–Garcia, 505 F.3d at 10 (quoting Giglio v. United States, 405 U.S.

150, 154 (1972)) (internal quotation mark omitted).

       B.      Michael Babich’s Biased and Self-Interested               Testimony     Was     Not
               Corroborated by Other Witnesses or Documents.

       The government also relied heavily on the testimony of Michael Babich, Insys’s former

CEO. Mr. Babich not only testified as to Dr. Kapoor’s alleged involvement in the bribing of

healthcare practitioners, but his testimony also represented the only evidence directly implicating

Dr. Kapoor in the insurance fraud scheme. Mr. Babich’s testimony, however, was notable for its


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lack of corroboration and attempts to minimize—often beyond reason—his own role in the alleged

conspiracy. Taken together, these factors raise serious doubts about the credibility of Mr. Babich’s

testimony, particularly with respect to the accusations he leveled against Dr. Kapoor.

       As an initial matter, Mr. Babich was a self-interested witness. And his self-interest went

far beyond a run-of-the-mill desire to reduce his own sentence. Mr. Babich’s wife, a former Insys

sales representative, is also awaiting sentencing for crimes she committed at Insys. See 2/14 Trial

Tr. 204:25-205:6. Moreover, Mr. Babich had a lot on the line financially when he took the stand

to testify. On cross-examination, Mr. Babich conceded that his compensation while at Insys

totaled approximately $43.8 million, see 2/22 Trial Tr. 109:15-110:11, yet the government had

only required him to forfeit $3.5 million up to that point for his role in the alleged conspiracy, see

2/14 Trial Tr. 152:14-153:5. With over $40 million hanging in the balance, as well as his and his

wife’s own freedom, Mr. Babich had every incentive to provide testimony at trial that helped the

government implicate Dr. Kapoor in the alleged conspiracy.

       Considering his motives, it is no surprise that Mr. Babich repeatedly tried to downplay his

own role in any misconduct at Insys, while adapting his testimony to the government’s needs.

Consider Mr. Babich’s testimony regarding his awareness of bribes paid to APRN Heather

Alfonso, one of the practitioners that his wife called on when she worked as an Insys sales

representative. On cross-examination, Mr. Babich testified that he was completely unaware at the

time that APRN Alfonso was being bribed by his now-wife to prescribe more Subsys, 2/14 Trial

Tr. 201:12-14, which insulated him and his wife from any wrongdoing, but was completely

implausible considering the two were dating at the time. In the face of this absurdity, the

government succeeded in getting Mr. Babich to reverse himself on redirect examination: he now

testified that he was aware of the bribes that were paid to APRN Alfonso, which, in turn, made it



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more plausible that defendants too were aware she was being bribed. 2/22 Trial Tr. 67:24-68:2.

Regardless which answer was true, Mr. Babich’s about-face severely undermines his credibility.

       Mr. Babich’s testimony also lacked corroboration. Rather than pointing to documents or

specific events that could be corroborated by other witnesses or documents, Mr. Babich implicated

Dr. Kapoor by repeatedly claiming that details of the RICO conspiracy were discussed on a daily

call between himself, Dr. Kapoor, and other senior members of Insys’s management team. See,

e.g., 2/14 Trial Tr. 57:3-19, 86:2-14, 92:1-14. But no document supported Mr. Babich’s testimony

about these daily calls, and other witnesses failed to corroborate his account of what was discussed

on them. For example, although Mr. Babich suggested that the prescribing habits of individual

doctors were frequently reviewed on the daily calls, see 2/14 Trial Tr. 55:11-24; 2/22 Trial Tr.

21:5-22:1, Mr. Burlakoff testified that going through the prescribing habits of individual doctors

“wasn’t the point” of the daily calls, 3/7 Trial Tr. 130:18-131:8. Likewise, Mr. Babich claimed

that Liz Gurrieri openly discussed the IRC’s fraudulent strategies with Dr. Kapoor on the daily

calls. See, e.g., 2/14 Trial Tr. 86:2-14, 92:1-14. But Ms. Gurrieri never once mentioned these

discussions during her own testimony. Without Mr. Babich’s unsubstantiated claims about what

was discussed on the daily calls, the government would have been left with little else to implicate

Dr. Kapoor, particularly with respect to the insurance fraud scheme.2




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  The government could have easily corroborated Mr. Babich’s testimony about the daily calls—
if his testimony had been truthful—by calling Xun Yu to testify at trial. Mr. Babich and multiple
other witnesses confirmed that Mr. Yu was a core attendee of the daily calls, and the government
designated him as a “will call” witness on the revised witness list it submitted on January 14, 2019.
The government immunized Mr. Yu ahead of trial to permit him to testify, then elected not to call
him. This fact casts further doubt on the credibility of Mr. Babich’s testimony about what was
discussed on the daily calls.

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       C.      Matt Napoletano’s Testimony Did Not Establish That Dr. Kapoor Joined The
               Alleged RICO Conspiracy.

       The third cooperating witness the government called to testify against Dr. Kapoor was Matt

Napoletano, a veteran of the pharmaceutical industry who served as Insys’s Vice President of

Marketing from October 2011 through August 2014. Notwithstanding his immunity, see 2/1 Trial

Tr. 63:21-64:3, Mr. Napoletano merely admitted to participating in a scheme that, by his own

testimony, did no more than violate the anti-kickback laws, see 2/7 Trial Tr. 39:15-25, which the

Court specifically instructed the jury was “not alone sufficient to prove a violation of the RICO

statute,” 4/4 Trial Tr. 58:3-5. Additionally, Mr. Napoletano testified on cross-examination that

there was nothing wrong with many of the practices relied upon by the government as proof of the

alleged RICO conspiracy, including encouraging practitioners to challenge insurance denials for

Subsys, pursuing a “switch strategy” aimed at practitioners with patients already taking competitor

products, educating practitioners on using an effective dose for their patients, wanting every

speaker to be a Subsys prescriber, and the practice of “soft deleting” speakers who were not

prescribing the drug from Insys’s program. See 2/4 Trial Tr. 214:6-16; 2/6 Trial Tr. 101:23-102:3,

198:15-199:11, 210:4-14. Mr. Napoletano also agreed that Dr. Kapoor wanted to focus on

marketing Subsys to oncologists—despite it being more difficult to get them to prescribe

medications like Subsys—based on his personal experience having watched his wife battle and

ultimately succumb to breast cancer. See 2/7 Trial Tr. 57:7-19.

       The government relied on two aspects of Mr. Napoletano’s testimony in attempting to

prove its case against Dr. Kapoor. First, it relied on Mr. Napoletano’s testimony that it was only

after repeated demands by Dr. Kapoor that Mr. Napoletano reluctantly performed the speaker ROI

analysis in late 2012. See 4/4 Trial Tr. 78:20-79:24 (arguing in closing that Mr. Napoletano told

Dr. Kapoor “you can’t track ROI, don’t do it” but “kept insisting” it be done). But while the


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government told the jury the resulting analysis was the “smoking gun in the case,” 4/5 Trial Tr.

177:9-10, Mr. Napoletano’s own testimony refutes that claim. In addition to confirming that the

analysis was done only once, see 2/4 Trial Tr. 91:7-92:3, Mr. Napoletano testified both that the

creation of the analysis, standing alone, was not improper, and that the summary version received

by Dr. Kapoor did not provide a basis for allocating speaker programs to specific practitioners

according to ROI, see 2/7 Trial Tr. 25:1-6, 26:20-23, 27:4-9. Furthermore, Mr. Napoletano

testified that, to his knowledge, Dr. Kapoor never received Exhibit 197, the spreadsheet prepared

in late 2012 that provided ROI for each individual speaker. See 2/7 Trial Tr. 23:5-17. His

testimony refutes claims by Messrs. Burlakoff and Babich that the spreadsheet was provided to

Dr. Kapoor at an in-person meeting attended by Mr. Napoletano.3

       Second, the government relied on Mr. Napoletano’s account of an October 2012 meeting

between himself, Mr. Burlakoff, Mr. Babich, and Dr. Kapoor. See 4/4 Trial Tr. 78:20-79:10

(arguing in closing “there was a blowup” at the meeting about whether to prepare the ROI

analysis). Mr. Napoletano testified that the objective of the speaker program was debated at this

meeting, and that Dr. Kapoor gave “a nod of the head” showing his agreement with Mr. Burlakoff’s

view that focused on the speakers themselves, rather than the program attendees as Mr. Napoletano

had advocated. See 2/1 Trial Tr. 126:24-128:2; 2/7 Trial Tr. 93:9-16. Far from helping prove Dr.



3
  Mr. Babich testified that it was Mr. Napoletano who passed out the spreadsheet at the meeting
where it was provided to Dr. Kapoor. See 2/15 Trial Tr. 129:19-130:1. Conversely, Mr. Burlakoff
claimed that it was actually Mr. Babich who passed out the spreadsheet to Dr. Kapoor and others
at this supposed meeting. See 3/5 Trial Tr. 185:9-19. In the face of these wildly inconsistent
accounts, the truth regarding distribution of the spreadsheet matters. Juror 8 reported that
convicting Dr. Kapoor was “relatively straightforward” because of “an internal Insys spreadsheet
shared with Kapoor that calculated ‘return on investment’ for doctors paid through the company’s
speaker program, which prosecutors said was the vehicle for the bribery scheme.” Aaron
Leibowitz, “Insys Jurors Say They Thought Execs Were Guilty Early On,” Law360 (May 7, 2019),
available at https://tinyurl.com/law360insysjurors.

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Kapoor’s involvement in the alleged conspiracy, this testimony only serves to highlight a

fundamental flaw in the government’s case against him. Specifically, Messrs. Burlakoff, Babich,

and Napoletano all testified about this October 2012 meeting, and each of them offered a vastly

different story of what transpired. Compare 2/1 Trial Tr. 126:24-128:2 (Napoletano testifying it

was an in-person meeting addressing the objectives of the speaker program where Kapoor sided

with Burlakoff) with 2/13 Trial Tr. 29:21-30:24; 2/15 Trial Tr. 108:14-22 (Babich testifying it was

a teleconference debating lunch versus dinner programs where no one agreed with Burlakoff) and

3/7 Trial Tr. 95:1-6, 98:1-21 (Burlakoff testifying it was an in-person meeting to discuss Linden

Care Pharmacy and ultimately was “no big deal”). Considering the competing narratives about

the October 2012 meeting, along with the full scope of what he said about the ROI analysis, Mr.

Napoletano’s testimony does not establish that Dr. Kapoor joined the alleged RICO conspiracy.

II.    THE REMAINING WITNESSES AND DOCUMENTARY EVIDENCE FAILED
       TO SUPPORT THAT DR. KAPOOR PARTICIPATED IN A RICO CONSPIRACY.

       Outside of the unreliable and inconsistent testimony it elicited from its three principal

cooperators, the government failed to introduce witness testimony tying Dr. Kapoor to the alleged

conspiracy. Many of the remaining witnesses called by the government failed to even mention Dr.

Kapoor, while the testimony of those that did fell far short of establishing his knowing and willful

agreement to join the conspiracy or his specific intent to commit any underlying predicate acts.4

To the contrary, the balance of the evidence weighs in favor of the conclusion that Dr. Kapoor




4
 Most lower-level Insys employees that testified had no interactions with Dr. Kapoor, and the very
few that did couldn’t connect him to any wrong doing. Tracy Krane testified that she and Mia
Guzman had dinner once with Dr. Kapoor, but could only recall that they had a general discussion
about what the speaker program could do for their territories. 3/13 Trial Tr. 11:13-12:3. Likewise,
Brett Szymanski testified that Alec Burlakoff called Dr. Kapoor after Dr. Gavin Awerbuch was
arrested, but could not recall what was discussed on that call. 1/30 Trial Tr. 186:17-25.

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never knowingly and willfully agreed to become a member of the conspiracy and that he never

agreed to or specifically intended any of the alleged predicate objects.

       A.      The Balance Of The Evidence Did Not Establish Dr. Kapoor’s Knowing and
               Willful Agreement To Join The Conspiracy.

       The sole additional witness called by the government who claimed to witness any

conspiratorial conduct by Dr. Kapoor was Beth McKey. Ms. McKey was at Insys a short period

of time, yet was surprisingly called by the government toward the end of its case to fill in gaps in

the evidence—surprisingly because the testimony she offered to fill those gaps was entirely

missing from her pre-trial interviews. In particular, the credibility of Ms. McKey’s testimony that

she heard Dr. Kapoor discuss “soft deleting” speakers who were not prescribing Subsys on a daily

call was severely undermined by her apparent failure to disclose the substance of this testimony in

two prior interviews with the government. See, e.g., 3/27 Trial Tr. 145:21-146:3, 187:5-20.

However, even if that were not the case, her testimony about Dr. Kapoor still falls far short of

establishing his involvement in any crimes. As Mr. Napoletano admitted, the practice of “soft-

deleting” prescribers from the speakers program is not illegal or unusual. See 2/6 Trial Tr. 210:4-

14. And Ms. McKey admitted on cross that she never heard Dr. Kapoor refer to practitioners as

“whales,” or any other language the government claimed as code associated with the charged

conspiracy. 3/27 Trial Tr. 249:3-5.

       The government also told the jury that Sue Beisler “was incessant in her communication

with Dr. Kapoor” and told him “how speaker money is being used.” 4/4 Trial Tr. 98:17-19. But

the government only introduced seven e-mails from Ms. Beisler to Dr. Kapoor from May to

December 2013 without any evidence that Dr. Kapoor ever read or responded to these e-mails.

And Nellie Oquendo, Dr. Kapoor’s long-time assistant, explained that Dr. Kapoor got over 100 e-

mails a day. 2/1 Trial Tr. 45:9-11. Furthermore, Ms. Beisler testified that Dr. Kapoor never talked


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to her about bribes or instructed her to bribe any doctors, and her e-mails to Dr. Kapoor were only

intended to complain about Mr. Burlakoff’s favoritism in assigning speaker program funds. 3/26

Trial Tr. 172:13-22. Neither Ms. Beisler’s testimony nor her e-mails to Dr. Kapoor are proof that

Dr. Kapoor knowingly and willfully agreed to join the alleged conspiracy or that he specifically

intended for the underlying bribery of healthcare practitioners to occur.

       B.      Dr. Kapoor Believed In Subsys And Encouraged The “Switch Strategy” Using
               What He Was Told Were Legitimate Marketing Tools.

       While the government’s proof of Dr. Kapoor’s criminal intent came up short, the evidence

did show that Dr. Kapoor was committed to and believed in Subsys because cancer pain was

personal to him. Witness after witness, including Mr. Napoletano, described how Dr. Kapoor’s

wife died from painful metastatic breast cancer. See 2/6 Trial Tr. 200:19-201:6. Ms. Oquendo

also testified that Dr. Kapoor “was really never back to his original self” following his wife’s

death. 2/1 Trial Tr. 42:18-23. Ms. Oquendo also testified about Dr. Kapoor’s hectic schedule and

numerous responsibilities of Insys. Id. at 43:25-45:3, 55:17-56:4.

       Dr. Kapoor invested over $70 million into Insys, 2/12 Trial Tr. 134:7-14, and never sold

his stock or otherwise abandoned the company—even after the government first started

investigating Insys. See 1/30 Trial Tr. 82:20-83:3 (testimony of Maury Rice). He stuck by Insys

and Subsys because he knew it was a superior drug that worked better than other competitors, a

fact that Dr. Lisa Stearns confirmed. Dr. Stearns testified that Subsys “worked faster and worked

better,” “was more effective” and “had fewer side effects” than other competitors. 4/2 Trial Tr.

105:13-19. Even Mr. Burlakoff—hardly one to do Dr. Kapoor any favors—agreed that Dr. Kapoor

“thought the drug was the greatest on earth and everybody would want it for the appropriate

patient.” 3/6 Trial Tr. 191:21-24. And Dr. Kapoor had a lot of reasons to believe this was the case




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because patients were writing to Insys to say how well Subsys was working for them. See, e.g.,

4/2 Trial Tr. 44:10-19 (testimony of Jennifer Adams); Ex. 6152 (letter from Jennifer Adams).

        The evidence also showed that Dr. Kapoor believed speaker programs were legitimate.

Multiple e-mails entered into evidence showed that Dr. Kapoor wanted speaker programs to have

more attendees, which makes sense only if he was trying to conduct legitimate speaker programs.

See Ex. 5481, 5325, 5563. And Mr. Napoletano was sharing information with Dr. Kapoor about

speaker programs where there were a lot of attendees and information-sharing regarding Subsys.

See Ex. 5448 (“This is as close to a best practice as we’re going to get with an ISP. I recommend

sharing this with JK....”).

        The government failed to show that Dr. Kapoor agreed and intended to use the Insys

speaker program to cause healthcare practitioners to violate the Controlled Substances Act or

engage in honest services fraud. Instead, evidence showed that speaker programs were used to

target high decile prescribers who had been prescribing Fentora and Actiq—and no witness

testified that it was wrong to target these prescribers. See, e.g., 2/15 Trial Tr. 174:18-21 (Mr.

Babich testifying that this “switching strategy” was shared “with everyone”). Nor did the

government prove that Dr. Kapoor had cause to suspect that any Subsys prescribers were writing

medically illegitimate prescriptions. To the contrary, Dr. Gavin Awerbuch testified that Dr.

Kapoor “was interested in why [he] could prescribe so much medication” and Dr. Awerbuch told

him that he “treat[s] patients with chronic pain” and “explained some of the conditions [he] use[s]

it for.” 1/31 Trial Tr. 89:2-10. Indeed, the government presented no evidence that any practitioner

informed Dr. Kapoor that they were prescribing Subsys in exchange for speaker payments.

        Likewise, the evidence showed that the dosing strategy that Dr. Kapoor supported was not

intended to cause inappropriately-dosed prescriptions, but instead was based on clinical studies



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showing that lower doses were not effective for most patients who participated in those studies.

See Ex. 6390 (showing that almost 80 percent of patients in the Subsys clinical trial needed a 600

mcg or higher dose for effective pain relief).

       C.      The Evidence Connecting Dr. Kapoor To Insurance Fraud Was Insufficient.

       Evidence connecting Dr. Kapoor to insurance fraud was nearly nonexistent. In its closing

argument, the government stated that Liz Gurrieri, the manager of the IRC, shared information

about the IRC’s fraudulent practices with Dr. Kapoor on the daily calls. 4/4 Trial Tr. 100:25-

101:6. But that’s not what Ms. Gurrieri said in her testimony. While Ms. Gurrieri confirmed that

she provided reports to Dr. Kapoor on the IRC’s approval rates, see 2/28 Trial Tr. 111:1-18, she

also testified that she never sent Dr. Kapoor the original “spiel” that instructed IRC employees to

mislead insurers. Id. at 125:24-126:9. More importantly, Ms. Gurrieri testified that she had very

few interactions with Dr. Kapoor, id. at 103:6-24, and never once mentioned him having any direct

involvement in the alleged insurance fraud scheme. And the time when Dr. Kapoor was involved

in the IRC, it was to improve its practices. See 2/15 Trial Tr. 75:12-16 (Mr. Babich describing that

Dr. Kapoor got involved with the IRC in 2014 to “make the [opt]in] form a better form”).

       Indeed, the evidence showed that Dr. Kapoor was trying to get it right. Compliance caused

repeated changes in IRC talking points, instructed IRC staff not to lie and mislead, and disciplined

staff who refused to follow those instructions. See 2/8 Trial Tr. 118:24-119:10 (Fordham testifying

that compliance changed the talking points); 2/22 Trial Tr. 232:7-17 (Gurrieri testifying that

compliance-approved talking points were technically accurate); 2/26 Trial Tr. 99:8-18, 232:3-9

(Gurrieri testifying that compliance instructed staff not to mislead insurers and set up disciplinary

actions for non-compliance); 3/26 Trial Tr. 21:19-22:9, 23:8-24:6, 29:17-25 (Meyer testifying that

IRC set up disciplinary procedures for non-compliance, she received a warning letter, and

compliance instructed her not to mislead insurers); 3/27 Trial Tr. 70:18-23, 81:5-82:15 (Davis
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testifying that IRC talking points changed during her tenure and that non-compliant IRC

employees were disciplined). Danielle Davis, the company’s compliance director, acknowledged

that Dr. Kapoor supported compliance, particularly after APRN Alfonso’s publicized arrest. See

3/27 Trial Tr. 46:4-14, 74:10-25, 77:21-25. Moreover, while Ms. Davis testified that Dr. Kapoor

was upset about a particular employee, Cheri Henshaw, being placed on administrative leave, see

id. at 47:7-48:18, she also testified that Dr. Kapoor supported other compliance-related

terminations and the compliance function generally. See id. at 77:21-25, 83:15-84:4; see also Ex.

5351 (“The request by JK was to run everything by compliance.”).

III.   THE GOVERNMENT RELIED ON EVIDENCE THAT APPEALED TO THE
       JURY’S EMOTIONS RATHER THAN THE ELEMENTS OF THE CHARGE.

       Recognizing that it could not sufficiently connect him to the alleged conspiracy through

documents, and that the witnesses testifying against him all had significant credibility issues, the

government resorted to bolstering its case against Dr. Kapoor by introducing evidence that

appealed to the jury’s emotions instead of the elements of the charge. In addition to the improperly

admitted evidence discussed in defendants’ joint motion for a new trial, the government’s

introduction of the following categories of evidence distracted the jury from the elements and the

burden of proof: (1) a parody rap video titled “Great by Choice”; (2) evidence suggesting Dr.

Kapoor had a physical relationship with Sue Beisler; and (3) Alec Burlakoff’s preposterous

allegations that Dr. Kapoor had a history of physical violence with respect to employees.

       A.      The Parody Rap Video Is Not A Basis For Sustaining The Verdict.

       Though he had no role in its creation, as part of its direct examination of Michael Babich,

the government introduced a highly inflammatory internal sales video titled “Great by Choice.”

See 2/13 Trial Tr. 158:12-15 (admitting Ex. 471). The video was one of dozens created by Insys

employees—but not by defendants—for the purpose of adding color to an internal sales meeting.


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The government did not introduce any evidence that Dr. Kapoor knew about or signed off on this

video before it was played, or that it contained an accurate depiction of Insys’s sales strategy. In

fact, the video was an obvious parody, as the 1600 mcg Subsys spray dose depicted in it does not

even exist (1600 mcg of Subsys is delivered by taking two 800 mcg doses). See 2/15 Trial Tr.

215:18-25.

          Despite its marginal relevance, the video made quite a splash. Immediately, multiple news

outlets—national and local—ran stories about it, making it the most highly covered piece of

evidence in the entire trial.5 One version of the video uploaded to YouTube has more than 106,000

views.6 Like the public at-large, the jurors could not resist being influenced by the salacious nature

of the video. The jury watched the video at least twice during its deliberations.7 “The rap video

just makes me sick to my stomach,” Juror 5 said in an interview with the Boston Globe.8 Yet the

video proves nothing about Dr. Kapoor’s alleged involvement in the conspiracy, especially since

there was no evidence that Dr. Kapoor signed off on it or approved of it in any way.

          B.     Dr. Kapoor’s Relationship with Sue Beisler Was Irrelevant and Unduly
                 Prejudicial.

          Compounding the prejudice caused by Alec Burlakoff’s unprompted testimony that

“everyone [at Insys] was banging everybody,” 3/8 Trial Tr. 26:17, the government elicited



5
 See, e.g., Alanna Durkin Richer, “Employees at Company Accused of Bribing Doctors Rapped,
Danced Around a Giant Bottle of a Highly Addictive Fentanyl Spray,” Chicago Tribune (Feb. 16,
2019), available at https://tinyurl.com/TribuneInsysRap; Laurel J. Sweet, “Ex-CEO: Insys Execs
Used Rap Video Parody to Push Sales of Excessive Fentanyl Rx,” Boston Herald (Feb. 14, 2019),
available at https://tinyurl.com/HeraldInsysRap.
6
 See “Subsys Rap Video Created by Insys Pharmaceuticals,” available at https://youtu.be/
mtwFZwjCSTE.
7
 Maria Cramer & Jonathan Saltzman, “Insys Jurors Horrified at Use of Rap Video to Push Sales,”
Boston Globe (May 7, 2019), available at http://bos.gl/ElVVm1d.
8
    Id.

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testimony from Sue Beisler that she was engaged in a physical relationship with Dr. Kapoor. See

3/26 Trial Tr. 249:9-22. Indeed, since Ms. Beisler’s emails to Dr. Kapoor had already been

admitted and read into the record by AUSA Fred Wyshak during Nellie Oquendo’s testimony in

the first week of trial, see 1/31 Trial Tr. 216:10-16, 218:18-219:11, 223:1-8 (admitting Exhibits

230, 248 and 249); 2/1 Trial Tr. 7:22-8:17, 18:5-21 (admitting Exhibits 251 and 252), it is fair to

wonder whether the government called Ms. Beisler for any purpose other than to elicit evidence

of that personal relationship.

       The nature of this testimony and the fact that it was elicited on redirect shows that its only

purpose was to impugn the character of Dr. Kapoor and impeach the credibility of Ms. Beisler’s

previous testimony that Dr. Kapoor never responded to her e-mails. See id. 250:11-14 (MR.

LAZARUS: “So this is around the time, all of those things, the emailing, the texting, the personal

cell, that’s all around the time that you’re sending him these emails, right? … MS. BEISLER:

Yeah.”). It is impermissible, however, for the government to elicit testimony from a witness for

the purpose of later impeaching the witness with testimony that is otherwise inadmissible. See

United States v. Gomez-Gallardo, 915 F.2d 553, 555 (9th Cir. 1990) (“The government must not

knowingly elicit testimony from a witness in order to impeach him with otherwise inadmissible

testimony.”). Here, the government should not have been permitted to elicit testimony from Ms.

Beisler that she had a physical relationship Dr. Kapoor under the guise of impeachment, and any

effect it had on the jury’s consideration of Dr. Kapoor’s case was improper.

       C.      The Government Should Have Corrected Alec Burlakoff’s False Allegations
               That Dr. Kapoor Was Physically Violent To Employees.

       Mr. Burlakoff twice went out of his way to allege Dr. Kapoor had threatened him and

suggest that Dr. Kapoor caused him to fear for his safety. In response to a question about a previous

statement Mr. Burlakoff had made to the government about hiring family members to bribe


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doctors, Mr. Burlakoff testified that he “was being threatened by Dr. Kapoor,” and claimed that

Dr. Kapoor “has a history of very much violence.” 3/7 Trial Tr. 30:15-17. Later the same day, in

response to a question about Dr. Kapoor’s focus on oncology, Mr. Burlakoff again emphasized

that he was “basically threatened physically by Dr. Kapoor.” Id. at 171:10. These completely

non-responsive answers were a clear attempt by Mr. Burlakoff to attack Dr. Kapoor’s character at

all costs. See id. at 30:20-21 (“MS. WILKINSON: Is there a story you want to get out? Is that

the idea? MR. BURLAKOFF: That’s what I’m here for and I’m doing it.”). Despite the obvious

prejudice of these statements to Dr. Kapoor, neither in the balance of his testimony nor at any other

point during trial was evidence introduced that corroborated Mr. Burlakoff’s baseless accusations.

And the government knows full well that no such corroboration exists, even though government

agents interviewed hundreds of Insys employees and others with knowledge of Dr. Kapoor as part

of their investigation. Yet, as with the remainder of Mr. Burlakoff’s testimony, the government

let him throw mud at Dr. Kapoor without regard to whether their star witness was telling the truth.

Because these allegations were baseless and of marginal relevance to the charge, they provide no

support for the jury’s verdict and additional cause to reverse it in favor of a new trial.

                                          CONCLUSION

       For the foregoing reasons, if the Court does not grant defendants’ renewed joint motion for

a judgment of acquittal and joint motion for a new trial, the Court should vacate the Dr. Kapoor’s

conviction and grant him a new trial.

                             REQUEST FOR ORAL ARGUMENT

       Dr. Kapoor respectfully suggests that the Court’s resolution of his motions would benefit

from oral argument.




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Dated: June 6, 2019                    Respectfully submitted,

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                            LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for Dr. Kapoor have
conferred with counsel for the government and that the disputed issues remain unresolved.

                                                    /s/ Beth A. Wilkinson
                                                    Beth A. Wilkinson
                                                    Counsel for Dr. John Kapoor


                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document will be served on all counsel of record
through the ECF system.

                                                    /s/ Beth A. Wilkinson
                                                    Beth A. Wilkinson
                                                    Counsel for Dr. John Kapoor
